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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

 UNITED STATES OF AMERICA,                      CR 20-131-BLG-SPW

                          Plaintiff,
                                                PRELIMINARY ORDER OF
           vs.                                  FORFEITURE

 ANTOINE ROBERT
 THREEFINGERS,

                          Defendant.


      The United States has filed an unopposed motion for preliminary order of

forfeiture of a firearm and ammunition. (Doc. 85).

      WHEREAS, in the superseding indictment in the above case, the United

States sought forfeiture of property from the above-captioned person, pursuant to

18 U.S.C. § 924(d), of any firearms and ammunition involved in any knowing

violation of Counts I-V, VII, or VIII;

      AND WHEREAS, on September 17, 2021, the defendant was convicted

following a jury trial of counts I, III, IV, and VII of the superseding indictment.

(See Doc. 75.) Following the jury verdict, Threefingers conceded the above

forfeiture of the firearm and ammunition and agreed to the entry of forfeiture. (See


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Doc. 73.) The forfeiture related to the four offenses of conviction contemplates

the forfeiture of Threefingers’ right, title, and interest in the firearm and

ammunition described below:

          • A Colt MKIV Series 80, .45 Caliber Pistol, SN: FA37949 with
            magazine.

          • Ammunition including .45 caliber, .223 caliber, 300 Win, 12-gauge
            shotgun rounds, 9mm caliber, and other miscellaneous ammunition
            located in the defendant’s red Dodge Dart.

      AND WHEREAS, by virtue of said guilty verdict, the United States is now

entitled to possession of the property described above, pursuant to 18 U.S.C. §

924(d), and Rule 32.2(b)(2), Federal Rules of Criminal Procedure.

      ACCORDINGLY, IT IS ORDERED:

      1. That based upon the finding of guilty by the jury as to counts I, III, IV,

and VII of the superseding indictment, and based upon the defendant’s concession

and agreement to entry of forfeiture as to the above-described firearm and

ammunition, the United States is authorized and ordered to seize the property

described above. This property is forfeited to the United States for disposition in

accordance with the law, subject to the provisions of to 18 U.S.C. § 924(d) and 28

U.S.C. § 2461(c).




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      2. That the aforementioned forfeited property is to be held by the United

States, particularly the Federal Bureau of Investigation United States and/or the

United States Marshals Service, in its secure custody and control.

      3. THAT the United States will provide written notice to all third parties

asserting a legal interest in any of the above-described property and will post on an

official government internet site (www.forfeiture.gov) for at least 30 consecutive

days as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions, of the Court’s Preliminary Order

and the United States’ intent to dispose of the property in such manner as the

Attorney General may direct, pursuant to 18 U.S.C. § 982(b)(1) and 21 U.S.C.

§ 853(n)(1), and to make its return to this Court that such action has been

completed; and

      4.     THAT upon adjudication of all third-party interests, if any, the Court

will enter a Final Order of Forfeiture.

      DATED this 24th day of September, 2021.




                                              SUSAN P. WATTERS
                                              United States District Judge


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